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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


  UNITED STATES OF AMERICA

  v.                                             Case No. 3:20-cr-65-J-32PDB

  TRAVIS RYAN PRITCHARD


               UNITED STATES’ UNOPPOSED MOTION FOR
                        PROTECTIVE ORDER

        The United States of America, pursuant to Rule 16(d)(1) of the Federal

  Rules of Criminal Procedure, respectfully moves this Court for the entry of a

  protective order governing the handling of certain sensitive materials in this

  case, and in support of its motion states the following:

        1.     On May 20, 2020, a federal grand jury seated in Jacksonville

  returned an indictment charging the defendant with two counts of coercion and

  enticement of a minor, in violation of 18 U.S.C. § 2422(b).

        2.     Discovery in this case includes a sensitive audio interview of a

  minor female victim. It also includes documents and other recordings

  containing information identifying minor victims.

        3.     The undersigned Assistant United States Attorney has conferred

  with counsel for the defendant, Bryan E. DeMaggio, Esq., who does not oppose

  the entry of the proposed protective order.
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        WHEREFORE, the United States respectfully requests that this Court

  grant this Motion for Protective Order.



                                            Respectfully submitted,

                                            MARIA CHAPA LOPEZ
                                            United States Attorney


                                        /s/ Kelly S. Karase
                                    By: KELLY S. KARASE
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                          CERTIFICATE OF SERVICE

                I hereby certify that on June 8, 2020, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to the following:

                Bryan E. DeMaggio, Esq.



                                            /s/ Kelly S. Karase
                                            KELLY S. KARASE
                                            Assistant United States Attorney




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